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UNITED STATES DISTRICT COURT                             USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                            DOCUMENT
                                                         ELECTRONICALLY FILED
NICOLE STEWART, on behalf of themselves and all          DOC #:
others similarly situated, et al.,                       DATE FILED: 

                             Plaintiffs,

                      -against-                       1:21-cv-1217-MKV
NURTURE, INC.                                             ORDER
                             Defendant.

STEPHANIE SOTO, individually and on behalf of all
others similarly situated,
                             Plaintiff,
                                                      1:21-cv-1271-MKV
                      -against-

NURTURE, INC.
                             Defendant.

NITA JAIN, individually and on behalf of all others
similarly situated,
                             Plaintiff,
                                                      1:21-cv-1473-MKV
                      -against-

NURTURE, INC., d/b/a Happy Family Brands,
                             Defendant.

JODI SMITH, Individually and on Behalf of All
Others Similarly Situated,
                             Plaintiff,
                                                      1:21-cv-1534-MKV
                      -against-
NURTURE, INC.,
                             Defendant.
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LILLIAN HAMPTON et al.,
                           Plaintiffs,
                    -against-                        1:20-cv-1882-MKV
NURTURE, INC., d/b/a Happy Family Organics and
Happy Baby Organics,
                           Defendants.

AMY WESTIN, individually and on behalf of all
others similarly situated,

                           Plaintiff,

                    -against-
                                                     1:21-cv-2101-MKV
NURTURE, INC., d/b/a Happy Family Brands,

                           Defendant.

JESSICA STROBEL, individually and on behalf of all
others similarly situated,
                           Plaintiff,
                                                     1:21-cv-2129-MKV
                    -against-

NURTURE, INC., d/b/a Happy Family Brands,
                           Defendant.

TIFFANIE SKIBICKI, individually and on behalf of
all others similarly situated,
                           Plaintiff,
                    -against-                        1:21-cv-2553-MKV

NURTURE, INC., d/b/a Happy Family Organics, and
Does 1 through 10, inclusive,
                           Defendants.




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ANGELA GUTIERREZ, individually and on behalf
of all others similarly situated,
                           Plaintiff,
                                                    1:21-cv-3499-MKV
                    -against-
NURTURE, INC.,
                           Defendant.

ALYSE GOTHOT, on behalf of herself and all others
similarly situated,

                           Plaintiff,

                    -against-
                                                    1:21-cv-4997-MKV
NURTURE, INC., d/b/a Happy Family Brands,
                           Defendant.

CHARLES ROBBINS, individually and on behalf of
all others similarly situated,
                           Plaintiff,
                    -against-                       1:21-cv-5344-MKV
NURTURE, INC., d/b/a Happy Family Brands, d/b/a
Happy Family Organics,

                           Defendant.

ERIK LAWRENCE, on behalf of herself and all
others similarly situated, et al.,

                           Plaintiffs,

                    -against-
                                                    1:21-cv-5748-MKV
NURTURE, INC.

                           Defendant.




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MYJORIE PHILIPPE, on behalf of herself and all
others similarly situated, et al.,

                            Plaintiffs,

                     -against-
                                                    1:21-cv-6632-MKV
NURTURE, INC.

                            Defendant.

EDELIN ALTUVE, individually, and on behalf of all
others similarly situated, et al.,

                            Plaintiffs,

                     -against-
                                                     1:21-cv-6678-MKV
NURTURE, INC.,

                            Defendant.

ERIN SPENCER, on behalf of herself and a class of
others similarly situated,

                            Plaintiff,

                     -against-
                                                     1:21-cv-6861-MKV
NURTURE INC., a New York corporation,

                            Defendant.

CAITLIN WILLIAMS, individually and on behalf of
all others similarly situated,

                            Plaintiff,

                     -against-
                                                     1:21-cv-6918-MKV
NURTURE INC. et al.,

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:



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       WHEREAS, there are currently sixteen (16) putative class actions pending in this District

alleging violations of various state statutes and common law based on the same or similar facts

and issues of law filed against Nurture, Inc. (“Nurture” or “Defendant”).

       WHEREAS, the Court held a conference in the sixteen above-referenced cases on August

27, 2021, at which Nurture consented and no Plaintiff objected to consolidation of these actions.

       WHEREAS, entry of this Order will promote judicial economy, avoid duplicative motion

and discovery proceedings and streamline adjudication of related matters.

       IT IS HEREBY ORDERED THAT:

       1.       Other than as described in paragraph two (2) below, the sixteen (16) above-

referenced actions, only to the extent they name Nurture as the sole baby food manufacturer

defendant, are hereby consolidated before the Honorable Mary Kay Vyskocil and shall hereafter

be identified as: In re Nurture Baby Food Litigation, Master File No. 1:21-cv-01217-MKV (the

“Consolidated Actions”).

       2.       Any and all personal injury and product liability claims for damages for bodily

injuries (collectively, the “Personal Injury Claims”) asserted against Nurture in the above-

captioned actions and any future actions, if any, shall not be asserted in the Consolidated Actions;

instead, any and all such Personal Injury Claims against Nurture that arise out of the same or

similar facts as alleged in the Consolidated Actions shall proceed separately.

       3.       Any actions asserting consumer protection type claims against Nurture hereafter

filed in, or transferred or removed to, this District which arise out of the same or similar facts—

namely, allegations that Nurture’s baby food products are and were tainted with toxic heavy

metals—shall, when the Court is apprised of them, and the case is assigned to me, be consolidated

for all purposes with the Consolidated Actions, to the extent such cases allege consumer protection

type claims against Nurture.

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         4.       The parties shall notify the Court of any other action which is pending or filed

outside of this District which may be related to the subject matter of the Consolidated Actions

and/or the Personal Injury Claims if and when they become aware of such actions.

         5.       To the extent they are deemed related and/or are otherwise assigned to me, absent

further Order of the Court, any cases asserting Personal Injury Claims hereafter filed in, or

transferred or removed to, this District which arise out of the same or similar facts shall be

consolidated or coordinated with each other (and not the Consolidated Actions), as appropriate,

with any other action alleging Personal Injury Claims against Nurture only to the extent they

contain Personal Injury Claims, and discovery and other pretrial proceedings in those cases shall

proceed separately.

         6.       Every pleading in In re Nurture Baby Food Litigation, Master File No. 1:21-cv-

01217-MKV, shall bear the following caption:

                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

In re NURTURE BABY FOOD LITIGATION                     )
                                                       ) Master File No.: 1:21-cv-01217-MKV
                                                       )
                                                       )
This Document Relates To:                              )

         7.       When a pleading is intended to be applicable to all actions to which this Order is

applicable, the words “All Actions” shall appear immediately after the words “This Document

Relates to:” in the caption set out above. When a pleading is intended to be applicable only to

some, but not all, of such actions, this Court’s docket number for each individual action to which

the pleading is intended to be applicable and the last name of the first-named plaintiff in said action

shall appear immediately after the words “This Document Relates to:” in the caption described

above.


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       8.       The deadline for the filing of any motions in the Consolidated Actions seeking

interim lead counsel appointment pursuant to Fed. R. Civ. P. 23(g) is September 28, 2021.

Omnibus papers in response to the Fed. R. Civ. P. 23(g) motions shall be filed on or before October

19, 2021. The deadline for the filing of any reply briefs is October 26, 2021.

       9.       Absent further Order of the Court, the deadline for the filing of a consolidated

complaint in the Consolidated Actions is sixty (60) days following the entry of an order under Fed.

R. Civ. P. 23(g). The deadline for the filing of Defendant’s response to the consolidated complaint

is forty-five (45) days after the filing of the consolidated complaint. The Court GRANTS

Defendant leave to file a motion to dismiss the consolidated complaint and waives the requirement

in the Court’s Individual Practice Rules that Defendant file a letter requesting a pre-motion

conference. Should Defendant move to dismiss the consolidated complaint, the deadline for the

filing of Plaintiffs’ papers in opposition is forty-five (45) days following the filing of the motion

to dismiss. Defendant’s reply papers shall be filed twenty-one (21) days after the filing of

Plaintiffs’ opposition papers.

       10.      The parties shall consult the Court’s Individual Practice Rules and ensure

compliance therewith. Failure to comply with the deadlines or other terms of this Order may

result in sanctions, including preclusion or dismissal of claims or defenses.



SO ORDERED.
                                                      _________________________________
                                                      _ _________
                                                      __       ________________
                                                                             ______
                                                                                _______________
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                                                                                           __
Date: August 30, 2021                                 MARY YKKAY
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      New York, NY                                    United States District
                                                             States Di strict Judge
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